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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

REGENERON PHARMACEUTICALS, INC.              )   C. A. No.: 22-00697-RGA-JLH
                                             )
              Plaintiff,                     )   JURY TRIAL DEMANDED
                                             )
                           v.                )   REDACTED PUBLIC VERSION
                                             )   FILED ON: October 26, 2022
AMGEN INC.,                                  )
                                             )
              Defendant.                     )

                       REPLY BRIEF OF DEFENDANT AMGEN INC.
                        IN SUPPORT OF ITS MOTION TO DISMISS

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                                 PRELIMINARY STATEMENT

        Regeneron filed its Complaint based on what it asserted were the terms of contracts Amgen

 entered into with two customers. Although the contracts themselves show that Regeneron is

 wrong, Regeneron has doubled down on its position. It asks the Court to ignore the contracts upon

 which it bases its claims, speculates that discovery might enable it to show facts inconsistent with

 the express terms of the very contracts it relies upon in its Complaint, and urges the Court to permit

 massive and burdensome discovery to ensue before even considering the contracts at issue. This

 approach is contrary to law and puts the cart before the horse. Amgen’s motion should be granted.

        First, while it is not surprising that Regeneron is fighting to keep the Court from

 considering the contracts given their fatal impact on its claims, the Court can and should consider

 the contracts. What matters under the law is whether the Complaint is based on the documents

 submitted to the Court, not whether Regeneron saw them before suing. Courts regularly consider

 documents submitted by a defendant on a motion to dismiss that the plaintiff has not seen before,

 particularly where a plaintiff’s claim is based on speculation about what those document say.

        Second, there are three fundamental deficiencies in the Complaint requiring dismissal:

 1.     Lack of substantial foreclosure. Putting aside the actual contracts, Regeneron has, at best,

 plausibly pled that Amgen entered into only two exclusive agreements that together cover less than

 23% of the market, and are not of long duration or difficult to terminate. That is not enough for

 substantial foreclosure. Regeneron argues that foreclosure levels below 40%–50% can sometimes

 be sufficient, but that is so only where other factual circumstances strongly support such a finding,

 and no such facts are pled here. Moreover, the actual terms of the Optum Commercial contract

 show that the foreclosure level is even lower, because that agreement is manifestly not exclusive.

 2.     Failure to satisfy requirements for price-based claims. Regeneron does not plead Amgen’s

 low prices are likely to exclude it from the market. And its alleged rebate calculations are based


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 on supposed conditional Otezla® rebates that are not in the contracts. Its price-based claims fail.

 3.     No bundling with a drug with market power. Regeneron tries to confuse the Otezla® issue

 by noting that Otezla® is mentioned in

                       That is irrelevant because no Otezla® rebates are conditioned on Repatha®

 coverage. And Regeneron cannot plausibly claim Enbrel® has market power since it concedes

 Enbrel® is losing sales to Humira®, and makes no allegations about the drugs’ market shares.

                                            ARGUMENT

 I.     The Court May Consider the Actual Terms of the Contracts Amgen Submitted.

        Regeneron bases its claims on what it refers to as Amgen’s “illegal, anticompetitive

 bundled rebate agreements” with “two major Third-Party Payors.” D.I. 1 (“Compl.”) ¶¶ 68, 75;

 see also id. ¶ 68–101. Regeneron now asks the Court to decide this motion based not on the actual

 terms of those agreements, but on Regeneron’s prior (and demonstrably incorrect) speculation

 about their content. But no legal rule requires this Court to rely on mischaracterizations of a

 document—rather than the document’s actual terms—when the document is the basis of the

 plaintiff’s claims. Instead, it is the well-established practice of federal courts to “consider an

 undisputedly authentic document that a defendant attaches as an exhibit to a motion to dismiss if

 the plaintiff’s claims are based on the document.” Pension Benefits Guar. Corp. v. White Consol.

 Indus., 998 F.2d 1192, 1196 (3d Cir. 1993).

        Regeneron concedes the Court could consider the contracts if Regeneron had seen them

 before filing the Complaint. See Opp. at 9. But it contends that its ignorance of the actual contract

 terms when it drafted its Complaint requires that this Court pretend to be ignorant of them too.

 That is not the law, and the cases Regeneron relies upon involved situations where a defendant

 submitted materials to the court that, unlike here, were not the bases of the plaintiffs’ claims.

        In Schmidt v. Skolas, for example, the defendants allegedly “breached their fiduciary duties


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 by disposing of promising drug technologies . . . for far less than their true value.” 770 F.3d 241,

 245 (3d Cir. 2014). The Third Circuit concluded that “the complaint was not ‘based’ on [the] press

 releases or updates” the defendant submitted and that the plaintiff “claim[ed] he never saw” and

 “dispute[d] . . . were publicly posted.” Id. at 249–50. Instead, the plaintiff’s claims were based

 on the “sales transactions” that allegedly constituted the alleged breaches of fiduciary duty. Id.

 Similarly, in Tomaszewski v. Trevana, Inc., the plaintiff’s securities fraud claims were based not

 on the FDA meeting minutes submitted by the defendant and to which the plaintiff had lacked

 access, but instead on the alleged misstatements made by the defendant’s executives about how

 those meetings went. See 482 F. Supp. 3d 317, 323, 327 (E.D. Pa. 2020).

        Here, the terms of Amgen’s agreements with ESI and Optum are the basis of Regeneron’s

 claims. See, e.g., Compl. ¶ 186. In that situation, i.e., where a defendant’s allegedly unlawful

 contracts are the basis of a plaintiff’s antitrust claims, courts consider the actual contracts on a

 motion to dismiss—even where they are confidential and between the defendant and third parties.

 See Pro Search Plus, LLC v. VFM Leonardo, Inc., 2013 WL 3936394, at *2 & n.2 (C.D. Cal.

 July 30, 2013) (considering confidential contracts between the defendant and third parties that the

 defendant had submitted with its motion to dismiss and that the plaintiff had challenged as

 anticompetitive); Kingray, Inc. v. NBA, Inc., 188 F. Supp. 2d 1177, 1190 (S.D. Cal. 2002) (same).

        Regeneron quotes Schmidt and other sources addressing a plaintiff’s lack of access to a

 document as a reason for a court not to consider it. Opp. at 9. But as ProSearch and Kingray

 show, that factor is not determinative where a plaintiff bases its claims on what it guesses are a

 contract’s terms. Rather, the rule allowing a court to consider documents “integral to or explicitly

 relied upon in the complaint,” Schmidt, 770 F.3d at 249 (quotations/emphases omitted), permits

 consideration of documents the plaintiff never saw but rather guessed as to their contents and relied




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 upon for its claims. That makes sense because if a claim is deemed implausible where a plaintiff

 has actually seen, but mischaracterizes, the document, then such a claim is equally implausible

 where, as here, plaintiff has never seen the document and speculates incorrectly about its contents.

        Indeed, Regeneron’s suggestion that courts never consider documents a plaintiff did not

 previously see is wrong, as shown by antitrust cases like ProSearch and Kingray, as well as other

 decisions within this Circuit. See, e.g., In re Amarin Corp., 2015 WL 3954190, at *5 n.9 (D.N.J.

 June 29, 2015) (considering documents that were “not publicly available and were not available to

 the Plaintiff at the time he filed his Complaint”); In re NorVergence, Inc., 384 B.R. 315, 366

 (Bankr. D.N.J. 2008) (same); Scheffler v. TD Bank, N.A., 2019 WL 192651, at *2 (D.N.J. Jan. 15,

 2019) (“Although Plaintiff contends that she did not have a copy when she filed the Complaint,

 Plaintiff does not allege that her claims are based on any contract other than the . . . Agreement.”).

        Moreover, due to the “unusually high cost of discovery” in antitrust cases, the Supreme

 Court has cautioned courts to carefully review the plausibility of antitrust claims before allowing

 them to proceed. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007) (“[S]ome threshold of

 plausibility must be crossed at the outset before a[n] . . . antitrust case should be permitted to go

 into its inevitably costly and protracted discovery phase.” (quotations omitted)); see also Eagle

 Pharms., Inc. v. Eli Lilly & Co., 2018 WL 6201704, at *3 (D. Del. Nov. 27, 2018) (“antitrust

 specific discovery . . . can be voluminous, time-consuming, and expensive” (quotations omitted)).

 Allowing an antitrust case to proceed based on false characterizations would violate that principle.

        Nor should this Court ignore the actual contract terms based on Regeneron’s groundless

 speculation as to what other “evidence may show” in discovery and that, it claims, may contradict

 the express terms of the very contracts upon which its Complaint is based. Opp. at 11. Faced with

 contracts that refute its allegations, Regeneron speculates about unalleged “verbal agreements”




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 and other unpled conduct that it theorizes could reflect agreements not in the contracts. See id. at

 11–12.1 But Regeneron may access Amgen’s records only after it pleads a plausible claim. The

 mere “possibility of misconduct” is not enough. Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). “To

 the extent any [wrongdoing] was believed to have occurred, it should have been pled in the

 complaint.” Ranke v. Sanofi-Synthelabo Inc., 436 F.3d 197, 204 (3d Cir. 2006). Regeneron has

 pled no facts plausibly suggesting Amgen and its customers omitted key financial terms from their

 contracts (and the detailed contracts belie such a suggestion); its effort to put the “cart before the

 horse” by trying to find facts in discovery to cure its pleading deficiencies has no merit. See id.

 II.    Regeneron’s Anticompetitive Conduct Allegations Fail.

        A.      Regeneron Fails Adequately to Allege Illegal Exclusive Dealing Regardless of
                Whether the Court Considers Amgen’s Contracts.

                1. Regeneron’s Claims Fail on the Face of the Complaint.

        Regeneron fails to plead substantial foreclosure. See Br. at 13–15; see also Int'l Constr.

 Prod. LLC v. Caterpillar Inc., 2016 WL 264909, at *6–7 (D. Del. Jan. 21, 2016) (failure to plead

 substantial foreclosure requires dismissal at pleading stage). Regeneron insists ESI Part D might

 have selected Repatha® over Praluent® as an administrative convenience after ESI Commercial

 did, see Opp. at 22 & n.18, but that is insufficient to plead foreclosure because ESI Part D could

 forego this alleged “convenience.” Br. at 11–12. Moreover, contrary to Regeneron’s plea that its

 theory of “spillover foreclosure” (i.e., that Praluent®’s exclusion from some formularies will cause

 doctors to favor Repatha® more broadly) is “fact-specific,” the only federal appellate court to have

 considered that theory rejected it as legally erroneous. See In re EpiPen Mktg., Sales Pracs. &

 Antitrust Litig., 44 F.4th 959, 2022 WL 3009140, at *24 (10th Cir. 2022); see also Br. at 14 n.13.


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  Regeneron also speculates about Amgen’s redactions to the contracts for the drugs not at issue.
 Opp. at 12. If the Court so requests, Amgen will provide, for in camera inspection, unredacted
 copies of the agreements it submitted, and any other agreements the Court believes it needs to rule.


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         That leaves only the ESI Commercial and Optum Commercial contracts, for which

  Regeneron claims foreclosure of only 15.27% and 7.05%, totaling 22.32%. Compl. ¶ 96. That

  percentage is far short of the “40% to 50% . . . usually required” to be “substantial.” ZF Meritor,

  LLC v. Eaton Corp., 696 F.3d 254, 286 (3d Cir. 2012).

         Moreover, Regeneron fails to plausibly allege contracts of sufficient duration to foreclose

  rivals, see Br. at 15–16, requiring dismissal on the pleadings. See, e.g., Pro Search Plus, LLC v.

  VFM Leonardo, Inc., 2013 WL 3936394, at *4 (C.D. Cal. July 30, 2013); PNY Techs., Inc. v.

  SanDisk Corp., 2014 WL 1677521, at *5–6 (N.D. Cal. Apr. 25, 2014). Regeneron fails to allege

  any significant duration, or that the contracts cannot be terminated at will. See Br. at 15–16;

  Compl. ¶¶ 80–85. Regeneron insists these issues must be resolved after discovery, but to receive

  discovery, it must make a threshold pleading of anticompetitive, long-term exclusion. Br. at 9–10.

         Regeneron mistakenly relies on decisions inapposite because they involve a key feature

  absent here—the inability of customers to switch from the alleged monopolist’s products to a

  rival’s without losing significant sales. ZF Meritor emphasized this factor when evaluating the

  claims in that case, explaining that exclusive deals with the alleged monopolist were not, in

  practice, terminable because customers would lose access to the monopolist’s products, which end

  users demanded. See 696 F.3d at 277–78 (“[L]osing Eaton was not an option”). That was also

  crucial in Dentsply, where the “‘strong economic incentive,’” Opp. at 23, that prevented dealers

  from terminating their contracts was the “‘all-or-nothing’ choice” to either deal with Dentsply or

  switch to a rival and lose virtually all their sales. See 399 F.3d 181, 194–96 (3d Cir. 2005).

         Crucially, here, Regeneron does not claim that a PBM customer terminating its exclusive

  relationship with Repatha® and switching to Praluent® will lose any sales at all. This means that,

  unlike in Dentsply, ZF Meritor, and other cases relied upon by Regeneron, see Opp. at 21–22,




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  there are no facts pled here suggesting Optum, ESI, or other customers of Amgen are locked into

  an exclusive relationship with Repatha® regardless of the contract duration, due to market or

  customer demands. And, indeed, even under the facts pled, PBMs regularly switch between the

  two drugs depending on which one is priced more competitively. Br. at 5, 18.

          The only consequence Regeneron alleges for switching from Repatha® to Praluent® is that

  the customer loses some Enbrel® (or Otezla®) rebates. Compl. ¶ 148; see also id. ¶¶ 72, 79. But

  “the threat of a lost discount is a far cry from the anticompetitive conduct at issue in . . . Dentsply.”

  Eisai, Inc. v. Sanofi Aventis U.S., LLC, 821 F.3d 394, 407 (3d Cir. 2016). And if Regeneron’s

  claim that customers have “‘a strong economic incentive’” to stay with Repatha® is based on high

  rebates, that is a claim that price is the primary means of alleged exclusion—a price-based claim

  subject to a separate test (which Regeneron fails). See infra Argument § II-B; Br. at 10, 19–20.

          Finally, Regeneron’s citation to this Court’s rule of reason analysis in 3Shape TRIOS A/S

  v. Align Tech., Inc. is misplaced. See Opp. at 18–19. In that case, the plaintiff alleged that the

  defendant’s contracts were “multi-year, de facto exclusive dealing contracts” that “lock[ed]

  [customers] into using” the plaintiff’s products and imposed “commitments that could only be met

  if participating [customers dealt] exclusively” with the defendant. 2020 WL 2559777, at *6 (D.

  Del. May 20, 2020). Here, Regeneron does not plausibly allege any of these characteristics, which

  supported 3Shape’s finding that the plaintiff had adequately alleged substantial foreclosure. Id.

                  2. Amgen’s Actual Contracts Confirm Regeneron’s Pleading Failures.

          The plain terms of the Optum Commercial agreement



                                    Br. at 7 n.7. Regeneron confuses the facts in its opposition by

  referring to what it calls the “most restrictive formulary coverage option” in the Optum contract,

  which it claims requires Optum


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         The actual contracts notwithstanding, Regeneron fails to allege that Amgen’s low prices

  will exclude Praluent® from the market. Regeneron mischaracterizes Amgen as arguing that

  Regeneron “must be injured to death before it can bring suit.” Opp. at 17. Not so. The law

  imposes strict requirements on an antitrust plaintiff’s claims when they challenge low prices, to

  avoid chilling procompetitive competition. A plaintiff must allege that it “would likely succumb”

  to the low pricing. Brooke Grp. Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 225

  (1993) (emphasis added). But Regeneron pleads only that Amgen’s pricing “could be fatal to

  Praluent®,” not that it is likely to be. Compl. ¶ 159; see also Br. at 19.

         Regeneron also does not respond to Amgen’s points that Praluent®’s status as the exclusive

  PCSK9 inhibitor on the formulary of “the second largest PBM,” CVS, shows the implausibility of

  any assertion (though Regeneron makes none) of a likely exit from the market. Br. at 20. Nor

  does it adequately respond to Amgen’s argument that Leqvio® could compete on price. Id.

         Finally, Regeneron cites 3Shape for the proposition that it need only allege “‘that the effect

  of the discounts is to foreclose portions of the market to a potential competitor who does not

  manufacture an equally diverse group of products and who therefore cannot make a comparable

  offer.’” Opp. at 18. But this standard, which is from LePage’s Inc. v. 3M, 324 F.3d 141 (3d Cir.

  2003), “is limited to cases in which a single product producer is excluded through a bundled rebate

  . . . offered by a [multi-product] producer . . . which conditions the rebates on purchases across

  multiple different product lines.” ZF Meritor, 696 F.3d at 274 n.11. The plaintiff in 3Shape sold

  only one product. 2020 WL 2559777, at *8. Regeneron’s judicially noticeable SEC filings, by

  contrast, show that it markets at least nine other drugs, including Dupixent®. Br. at 20 n.21.3 The



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   That Regeneron “does not control” Dupixent® marketing, Opp. at 16 n.11, is not in the
  Complaint and is no excuse for its pleading failures because Regeneron could still work with its
  marketing partner to offer a competitive bundle.


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  standard from LePage’s, which Regeneron fails to meet in any event, is inapposite. Regeneron

  must instead satisfy the price-cost test, and show likelihood of recoupment, which it cannot do.

  See Br. at 19–20; cf. also 3Shape, 2020 WL 2559777, at *8 (“I am highly skeptical [of a pleading

  burden that] does not require any consideration of the size of the discount.”).

  III.   Regeneron Has Not Adequately Alleged That Amgen Conditions Rebates On A
         Monopoly Drug To Exclude Regeneron’s Praluent®.

         A.      Amgen’s Contracts Show That It Does Not Condition Otezla® Rebates on
                 Repatha® Formulary Coverage.

         Amgen showed in its opening brief that for the threat of a lost bundled rebate to coerce a

  customer into purchasing the bundle, the rebate must be on a monopoly product because in that

  circumstance, if the customer does not purchase the bundle, it forfeits a rebate on a product that,

  due to the absence of substitutes, it still must buy from the defendant. See Br. at 21–22 (collecting

  cases). As Amgen’s agreements with ESI Commercial and Optum Commercial demonstrate,

  Amgen does not condition Otezla® rebates on Repatha® formulary coverage. Id. at 7 & n.5. Still,

  Regeneron argues without legal support that whether a “rebate is not an ‘Otezla® rebate’ . . . is a

  distinction without a difference” because “the economic reality is the same: a massive rebate

  requiring coverage of Enbrel® and Otezla® conditioned on Repatha® exclusivity.” Opp. at 14 n.9.

         Regeneron is wrong. For Otezla® to be economically coercive, a customer must lose

  Otezla® rebates if it does not cover Repatha® exclusively.

                             See Br. at 7 & n.5.

                                                                      See id. at 21–22; see also, e.g.,

  Shire US, Inc. v. Allergan, Inc., 375 F. Supp. 3d 538, 557 (D.N.J. 2019) (evaluating coercion based

  solely on the glaucoma drugs on which Allergan had allegedly offered the bundled rebates).4


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   Amgen does not “concede[] Otezla®’s monopoly power.” Opp. at 3. It disputes it. Regardless,
  Otezla®’s supposed market power is irrelevant given the absence of bundled rebates on it.


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         B.      Regeneron Fails to Allege That Enbrel® Has Monopoly or Market Power.

         Regeneron has not plausibly alleged that Enbrel® has monopoly or market power. Br. at

  22–24. Regeneron argues in opposition that a plaintiff need not always allege market share. See

  Opp. at 20–21. But market share is considered “the most significant factor” in the analysis. SEI

  Global Servs., Inc. v. SS&C Advent, 496 F. Supp. 3d 883, 894 (E.D. Pa. 2020). “While other

  factors are also relevant, they are typically considered alongside facts concerning market share,

  not in lieu of such facts.” Globespanvirata, Inc. v. Tex. Instrument, Inc., 2006 WL 543155, at *4

  (D.N.J. Mar. 3, 2006). Here, Regeneron asserts no allegations regarding the other factors relevant

  to market power, which indicates a lack of it. See Br. at 22–23. Further, Regeneron’s claim

  regarding barriers to entry is irrelevant because Humira® is already on the market. Opp. at 20.

         Regeneron’s last-ditch argument is that perhaps Enbrel® and Humira® both have market

  power. Opp. at 21. That makes no sense in the context of this case. For rebates on Enbrel® to

  compel customers to cover Repatha® exclusively, Enbrel® would need to be a “must-have” drug—

  otherwise the customer could simply drop Enbrel® and avoid the impact of losing the rebates. See

  Shire, 375 F. Supp. 3d at 557; SmithKline Corp. v. Eli Lilly & Co., 575 F.2d 1056, 1065 (3d Cir.

  1978) (bundling claim involves allegation that competitive product is bundled with a “product[]

  on which [the defendant] faced no competition” (emphases added)). Humira®’s prominence, and

  the fact that Enbrel® is not even the “preferred” treatment of major customers like Optum, shows

  Enbrel® is not a “must have” medicine that could coerce exclusivity. Br. at 17. Even putting aside

  Otezla®, the Court should dismiss all claims based on alleged bundled rebates for Enbrel®.

  IV.    Regeneron’s State Law Claims Are Inadequate.

         Regeneron does not dispute its failure to “allege, in other than conclusory terms, [Amgen’s]

  sales price, costs in the product, and costs of doing business,” as the UPA squarely requires.

  Fisherman’s Wharf Bay Cruise Corp. v. Super. Ct. of San Francisco, 114 Cal. App. 4th 309, 322


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  (2003); see Br. at 25. It instead contends its UPA claim should survive so long as its “method of

  calculating costs . . . is not ‘arbitrary or irrational.’” Opp. at 25. But Regeneron’s method for

  calculating costs is irrational for the reasons stated above, and because it includes nonexistent

  Otezla® rebates. See supra § III.A. Regeneron’s UCL claim fails for the same reason, and because

  it duplicates Regeneron’s failed antitrust claims. Br. at 25. Regeneron does not try to rebut

  Amgen’s arguments on tortious interference, and its novel and unsupported assertion that a UPA

  violation is somehow a “predicate” for such a claim has no legal basis. Opp. at 25. Regardless,

  Regeneron’s UPA claim fails for the reasons noted above, so even under Regeneron’s logic, it

  cannot support a tortious interference claim. Finally, even if the Cartwright Act is not coextensive

  with the Sherman Act in every case, it still requires that for the type of anticompetitive conduct

  alleged here, the seller “use its market power in one market to force or coerce a buyer to purchase

  its product or service in a distinct market in which the seller does not have such market power or

  to refrain from buying from the seller’s competitor.” UAS Mgmt., Inc. v. Master Misericordiae

  Hosp., 169 Cal. App. 4th 357, 368–69 (2008). Regeneron’s failure to allege a coercive bundled

  rebate, or adequate foreclosure and duration, is thus fatal to its Cartwright Act claim. Br. at 25.5

                                           CONCLUSION

         Amgen respectfully requests that the Court dismiss the Complaint without leave to amend.



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    The Court should deny Regeneron’s perfunctory request for leave to amend in a footnote at the
  end of its brief. Regeneron could have amended the Complaint after Amgen submitted its
  contracts, yet chose not to. Fed. R. Civ. P. 15(a)(1)(B). Having instead doubled down, it is fair to
  hold Regeneron to the Complaint it chose. Moreover, the “long-standing amendment rule” in the
  Third Circuit that “failure to submit a draft amended complaint is fatal to a request for leave to
  amend” dooms Regeneron’s request, which also fails because any amendment would be futile.
  Fletcher-Harlee Corp. v. Pote Concrete Contractors, Inc., 482 F.3d 247, 252 (3d Cir. 2007); Baker
  v. Hartford Underwriters Ins. Co., 490 Fed. Appx. 467, 469–70 (3d Cir. 2012) (denying footnote
  request to amend for failure to submit a draft amended complaint). Regeneron’s citation to Phillips
  v. County of Allegheny, 515 F.3d 224 (3d Cir. 2008), a civil rights case, is inapposite because the
  rule in that case does not apply “outside of civil rights cases.” Fletcher-Harlee, 482 F.3d at 252.


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                                     CERTIFICATE OF SERVICE

           I, Melanie K. Sharp, Esquire, hereby certify that on October 19, 2022, I caused to be

  electronically filed a true and correct copy of Reply Brief of Defendant Amgen Inc. in Support of

  Its Motion to Dismiss with the Clerk of the Court using CM/ECF, which will send notification to

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